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                                       ORDERED.
  Dated: October 21, 2024




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                         Case No. 2:24-bk-01152-FMD
                                                               Chapter 13
Yadira Rodriguez

      Debtor(s)
_________________________/

     ORDER RESERVING RULING ON TRUSTEE'S MOTION TO DISMISS FOR
   FAILURE TO COMPLY AND RESCHEDULING §341 MEETING OF CREDITORS

         THIS CASE came on for consideration, for the entry of an appropriate Order in the

above styled Chapter 13 case, upon the Trustee’s Motion to Dismiss for Failure to provide at

least seven (7) days before the initial Meeting of Creditors the Chapter 13 Trustee with copies of

all pay stubs, advices, or documentation of income sources (Payment Advices) for the six month

period ending on the last day of the month preceding the month of the petition date (Doc. No.

15). Accordingly, it is

         ORDERED:

         1.     The Court Orders the Debtor to attend a rescheduled §341 Meeting of Creditors

and failure to attend shall constitute a willful failure of the Debtor to abide by an Order of this

Court.
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       2.      The Court will reserve ruling on the Trustee’s Motion To Dismiss, however, in

the event the Debtor appears at the rescheduled §341 Meeting of Creditors, as herein provided,

the Trustee's Motion shall be denied, by separate order.

       3.      The Trustee hereby notifies the Debtor that the Rescheduled §341 Meeting of

Creditors will be held via Zoom on November 5, 2024 at 1:30 p.m., Trustee Jon M. Waage

will hold the meeting via Zoom. Go to Zoom.us/join, enter meeting ID 578 762 2687, and

pass code 6348227471.

       4.      In the event the Debtor fails to attend the rescheduled §341 Meeting of Creditors

and fails to provide at least seven (7) days before the rescheduled Meeting of Creditors the

Chapter 13 Trustee with copies of all pay stubs, advices, or documentation of income sources

(Payment Advices) for the six month period ending on the last day of the month preceding the

month of the petition date, the Trustee may submit to the Court an Order dismissing the above

styled Chapter 13 case.




Trustee, Jon M. Waage, is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within 3 days of entry of the order.


JMW/KRM/ss                                                               C13T 10/21/24
